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                                            UNITED STATES DISTRICT COURT
                                                  DISTRICT OF MAINE
      CASE NAME: USA v. QIHONG SONG

      DOCKET NO: 1:24-mj-00244-JCN

      PROCEEDING TYPE: Detention Hearing

                                                      Exhibit List
Gvt   Dft     Court
                                                                                          Date          Date             Date
Exh   Exh      Exh                              Description                                                       Obj
                                                                                        Mentioned      Offered          Admitted
No.   No.      No.
        1                                       Photograph                              7/31/2024     7/31/2024         7/31/2024
        2                                       Photograph                              7/31/2024     7/31/2024         7/31/2024
        3                                       Photograph                              7/31/2024     7/31/2024         7/31/2024

        4                                       Photograph                              7/31/2024     7/31/2024         7/31/2024
        5                                       Photograph                              7/31/2024     7/31/2024         7/31/2024
        6                                       Photograph                              7/31/2024     7/31/2024         7/31/2024
